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14
                                     UNITED STATES DISTRICT COURT
15                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
16
     In Re CATHODE RAY TUBE (CRT)                                Case No. 07-cv-5944-SC
17   ANTITRUST LITIGATION                                        MDL NO. 1917

18                                                               [PROPOSED] ORDER OF
     This Document Relates to:                                   DISMISSAL OF PANASONIC AND
19                                                               BMCC DEFENDANTS

20   Sharp Electronics Corp., et al. v. Hitachi, Ltd., et al.,
     Case No. 13-cv-1173 SC
21
     and
22
     Sharp Electronics Corp., et al. v. Koninklijke Philips
23   Electronics N.V., et al., Case No. 13-cv-2776 SC.

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                    [PROPOSED] ORDER OF DISMISSAL OF PANASONIC AND BMCC DEFENDANTS
28                                 Case Nos. 13-cv-1173-SC and 13-cv-2766-SC
                                    Master File No. 07-cv-5944, MDL No. 1917
             Case 3:07-cv-05944-JST Document 3811 Filed 03/27/15 Page 2 of 2



 1          The Court, having considered the stipulation of the parties, and good cause appearing therefor,

 2   orders as follows:

 3          1.      Claims asserted by Plaintiffs Sharp Electronics Corporation and Sharp Electronics

 4   Manufacturing Company of America, Inc. (collectively, “Sharp”) against Defendants Panasonic

 5   Corporation; Panasonic Corporation of North America; Panasonic Consumer Electronic Co.; MT Picture

 6   Display Co., Ltd.; Matsushita Electronics Corporation (Malaysia) Sdn. Bhd.; PT.MT Picture Display

 7   Indonesia; and Beijing Matsushita Color CRT Co., Ltd. in the underlying actions are dismissed with

 8   prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure.

 9          2.      Each party shall bear its own costs and attorneys’ fees.

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11   IT IS SO ORDERED.
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14            DATED:             03/26      , 2015           _________________________________
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15                                                                HON. SAMUEL CONTI




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                                                             UNITED STATES DISTRICT JUDGE
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                   [PROPOSED] ORDER OF DISMISSAL OF PANASONIC AND BMCC DEFENDANTS
                                    Case Nos. 13-cv-1173-SC, 13-cv-2776-SC
                                   Master File No. 07-cv-5944, MDL No. 1917
